                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA      )
                              )
v.                            )                           NO. 3:13-00090-4
                              )                           JUDGE SHARP
MERCEDES MARDALI GARCIA-LINDO )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Clarify Sentencing Hearing Date (Docket

No. 342).

       The motion is GRANTED and the correct date of the sentencing hearing is Monday, June

16, 2014, at 10:30 a.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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